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5                                        UNITED STATES DISTRICT COURT

6                                            DISTRICT OF NEVADA

7                                                     ***
      JOSHUA HUSOK,
8
                            Plaintiff,
9                                                       2:20-cv-01939-KJD-DJA
      vs.                                               ORDER
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      STATION CASINOS, LLC,
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                            Defendant.
12
            This matter has been set for an Early Neutral Evaluation session on December 22, 2020, at 10:00
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     AM. (ECF No. 9). Due to rising COVID-19 cases, the Early Neutral Evaluation session will be conducted
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     by video conference.
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            Accordingly,
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            IT IS ORDERED that the Early Neutral Evaluation session will be conducted by video conference
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     at 10:00 a.m., December 22, 2020, before U.S. Magistrate Judge, Cam Ferenbach.
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            It is responsibility of the parties to set-up and coordinate the video conference for the Early
19
     Neutral Evaluation session. Each party may choose to use any video conference software/app to conduct
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     the Early Neutral Evaluation session. The court will conduct simultaneous video conferences with each
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     party during the Early Neutral Evaluation session and will need a separate video conference link from
22
     each party.
23
            Each party must then send an invitation link for the Early Neutral Evaluation session to
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     VCF_Chambers@nvd.uscourts.gov by December 15, 2020. Each party must contact chambers (702-464-
25
           Case 2:20-cv-01939-KJD-DJA Document 12 Filed 11/06/20 Page 2 of 2




1    5540) by December 15, 2020 and be prepared to do a test run of the video conference with chambers on

2    December 15, 2020.

3           All else as stated in the order setting the Early Neutral Evaluation session remains unchanged.

4    (ECF No. 9).

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6           DATED this 6th day of November, 2020.
                                                               _________________________
7                                                              CAM FERENBACH
                                                               UNITED STATES MAGISTRATE JUDGE
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